Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 1 of 15. PageID #: 99154




                              EXHIBIT 24
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 2 of 15. PageID #: 99155
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 3 of 15. PageID #: 99156
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 4 of 15. PageID #: 99157
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 5 of 15. PageID #: 99158
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 6 of 15. PageID #: 99159
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 7 of 15. PageID #: 99160
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 8 of 15. PageID #: 99161
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 9 of 15. PageID #: 99162
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 10 of 15. PageID #: 99163
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 11 of 15. PageID #: 99164
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 12 of 15. PageID #: 99165
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 13 of 15. PageID #: 99166
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 14 of 15. PageID #: 99167
Case: 1:17-md-02804-DAP Doc #: 1934-23 Filed: 07/22/19 15 of 15. PageID #: 99168
